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                   EXHIBIT E
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                                                                        CLOSED,MJSELECT

                              U.S. District Court
                    Eastern District of New York (Brooklyn)
              CRIMINAL DOCKET FOR CASE #: 1:98-cr-01102-ILG-1


Case title: USA v. Lauria                              Date Filed: 12/03/1998
                                                       Date Terminated: 02/05/2004


Assigned to: Judge I. Leo Glasser

Defendant (1)
Salvatore Lauria                          represented by Robert G. Stahl
TERMINATED: 02/05/2004                                   Robert G. Stahl LLC
                                                         220 St Paul Street
                                                         Westfield, NJ 07090
                                                         908-301-9001
                                                         Fax: 908-301-9008
                                                         Email: rstahl@stahlesq.com
                                                         ATTORNEY TO BE NOTICED
                                                         Designation: Retained

                                                        Thomas Edward Moseley
                                                        Law Offices of Thomas E. Moseley
                                                        One Gateway Center
                                                        Suite 2600
                                                        Newark, NJ 07102
                                                        973-622-8176
                                                        Fax: 973-645-9493
                                                        Email: moselaw@ix.netcom.com
                                                        ATTORNEY TO BE NOTICED

Pending Counts                                          Disposition
RACKETEERING
(1)

Highest Offense Level (Opening)
Felony

Terminated Counts                                       Disposition
None

Highest Offense Level (Terminated)
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None

Complaints                                               Disposition
None



Plaintiff
USA                                       represented by Alicyn L. Cooley
                                                         United States Attorney's Office
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                                                         718-254-6389
                                                         Fax: 718-254-6076
                                                         Email: alicyn.cooley@usdoj.gov
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED
                                                         Designation: Government Attorney

                                                         Jonathan S. Sack
                                                         Morvillo, Abramowitz, Grand Iason &
                                                         Anello P.C.
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                                                         Girish Karthik Srinivasan
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                                                         ATTORNEY TO BE NOTICED


Date Filed     #      Docket Text
12/03/1998         1 Notice of intent to proceed under FRCrP 7(b) as to 1-98-cr-1102-01.
                     (Guzzi, Roseann) (Ramos, Shirley). (Entered: 12/07/1998)
12/03/1998            Magistrate Chrein has been selected by random selection to handle any
                      matters that may be referred in this case. (Guzzi, Roseann) (Entered:
                      12/07/1998)
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12/10/1998            LETTER dated 12/10/98 from AUSA Jonathan Sack. (AUSA file
              2       #98r02283) (Guzzi, Roseann) (Sica, Michele). (Entered: 12/10/1998)
12/10/1998            SEALED DOCUMENT as to 1-98-cr-1102-01 containing felony
             3        information. AUSA file #98R02283. (Guzzi, Roseann) (Sica, Michele).
                      (Entered: 12/15/1998)
12/10/1998            INFORMATION as to 1-98-cr-1102-01 Salvatore Lauria (1) count(s) 1.
             24       (Sica, Michele) (Entered: 03/27/2009)
03/12/1999            (SEALED)LETTER dated 3/10/99 from AUSA Jonathan Sack to Judge
              4       Gleeson. (AUSA file #1998R02283). (Guzzi, Roseann) (Sica, Michele).
                      (Entered: 03/12/1999)
07/09/1999            NOTICE OF ATTORNEY APPEARANCE: Robert G. Stahl appearing for
             23       1-98-cr-1102-01 Salvatore lauria (Sica, Michele) (Entered: 03/27/2009)
09/27/1999            SEALED LETTER from AUSA Jonathan Sack submitted 9/20/99. (Guzzi,
              5       Roseann) (Sica, Michele). (Entered: 09/27/1999)
11/03/1999            Sealed envelope containing LETTER dated 10/28/99. (PLACED IN
              6       VAULT). (Greves, Liz) (Sica, Michele). (Entered: 11/03/1999)
01/27/2000            SEALED LETTER dated 1/26/00 from AUSA Jonathan Sack to Judge
              7       Glasser. (AUSA file #1998RO2283) (Guzzi, Roseann) (Sica, Michele).
                      (Entered: 01/27/2000)
03/22/2000            SEALED LETTER dated 3/13/00 from AUSA Jonathan Sack to Judge
              8       Glasser. AUSA Jonathan Sack 1998R02283. (Guzzi, Roseann) (Sica,
                      Michele). (Entered: 03/22/2000)
05/18/2000            Sealed envelope containing LETTER dated 5/15/2000. (PLACED IN
              9       VAULT). (Greves, Liz) (Sica, Michele). (Entered: 05/18/2000)
11/16/2001        10 ORDER as to 1-98-cr-1102-01 unsealing the guilty plea transcript. (Signed
                     by Senior Judge I. L. Glasser , on 11/15/01) (Sica, Michele) (Entered:
                     11/19/2001)
01/02/2002            SEALED DOCUMENT as to 1-98-cr-1102-01 (letter). (Rodriguez,Angela)
             11       (Sica, Michele). (Entered: 01/11/2002)
05/01/2002            SEALED DOCUMENT as to 1-98-cr-1102-01. (Rodriguez,Angela) (Sica,
             12       Michele). (Entered: 05/10/2002)
02/06/2003            SEALED DOCUMENT as to 1-98-cr-1102-01; date of sealing 2/5/03;
             13       documents enclosed: correspondence. (Sica, Michele) (Sica, Michele).
                      (Entered: 02/06/2003)
12/23/2003            Case sealed as to 1-98-cr-1102-01 (Piper, Francine) (Entered: 12/23/2003)
12/23/2003            ORDER as to 1-98-cr-1102-01 (endorsed on letter dated 11/26/03 from
             14       Robert Stahl to Judge Glasser), sentencing is adjourned to 2/5/03 at 10:00.
                      (Signed by Judge I. Leo Glasser on 12/2/03) (Piper, Francine) (Sica,
                      Michele). (Entered: 12/23/2003)
02/25/2004
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                       SEALED DOCUMENT (Calendar and J&C ) as to 1-98-cr-1102-01 placed
             15        in vault (Piper, Francine) (Sica, Michele). (Entered: 03/02/2004)
04/13/2004             ORDER as to Salvatore Lauria placed in Vault.(Signed by Judge I. Leo
             16        Glasser on 4/12/04) (Piper, Francine) (Sica, Michele). (Entered:
                       04/27/2004)
04/29/2004        17 ORDER as to 1-98-cr-1102-01, that the Clerk of Court is directed to unseal
                     the case for the purpose of transfer of jurisdiction only. ( Signed by Judge I.
                     Leo Glasser on 4/19/04) (Piper, Francine) (Entered: 04/29/2004)
04/29/2004        18 Transfer of Jurisdiction ORDER as to Salvatore Lauria that the jurisdiction
                     of the probationer be transferred to the U.S.D.C. of Connecticut upon that
                     court's order of acceptance of jurisdiction. (Signed by Judge I. Leo Glasser
                     on 3/9/04). It is ordered that the jurisdiction of the probationer is accepted
                     by this court. (Signed by District Judge in Connecticut on 3/24/04) (Piper,
                     Francine) (Additional attachment(s) added on 3/27/2009: # 1 transfer of
                     jurisdiction) (Sica, Michele). (Entered: 04/29/2004)
04/29/2004             Probation Jurisdiction Transferred to District of Connecticut as to 1-98-cr-
                       1102-01 Transmitted Transfer of Jurisdiction form, with certified copies of
                       indictment, judgment and docket sheet. (certifies copies sent in sealed
                       envelopes) (Piper, Francine) (Entered: 04/29/2004)
05/06/2004        19 Certificate of Service as to 1-98-cr-1102-01 of Transfer of Probation
                     documents via fedex on 5/5/04 upon Clerk of Court, USDC of Connecticut.
                     (package tracking #838948354459) (Piper, Francine) (Entered: 05/06/2004)
04/19/2005        20 Letter dated 1/27/05 from Keith Barry to Judge Glasser, recommending that
                     the court order the dft to pay off the entire cost for electronic monitoring
                     and that dft be confined to his home on weekends for the remainder of
                     home confinement which terminates on 4/29/05. (Piper, Francine) (Entered:
                     04/19/2005)
04/19/2005        21 Letter dated 2/14/05 from Keith Barry to Judge Glasser, enclosing a list of
                     dates and times dft was in violation of the special condition ordering home
                     confinement. (Piper, Francine) (Additional attachment(s) added on
                     3/27/2009: # 1 letter dtd 02/14/05) (Sica, Michele). (Entered: 04/19/2005)
03/24/2009             Order to Unseal Case as to 1-98-cr-1102-01. (Ordered by Magistrate Judge
             22        Roanne L. Mann on 3/18/2009) (Piper, Francine) (Entered: 03/24/2009)
01/26/2011             Order to Seal Document as to Salvatore Lauria. For the reasons stated in the
             25        government's letter dtd. December 2, 2010, the government respectfully
                       moves to seal the April 29, 2002 letter (Document 12) in the above-
                       captioned case. Ordered by Senior Judge I. Leo Glasser on 1/25/2011.
                       (Layne, Monique) (Entered: 01/26/2011)
09/20/2012        26 MOTION to Unseal Document Limited Unsealing Application by USA as
                     to Salvatore Lauria. (Attachments: # 1 Proposed Order Limited Unsealing
                     Order) (Cooley, Alicyn) (Entered: 09/20/2012)
09/21/2012        27
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                       LIMITED UNSEALING ORDER, granting 26 Motion to Unseal Document
                       as to Salvatore Lauria (1). Ordered by Judge I. Leo Glasser on 9/21/2012.
                       (Layne, Monique) (Entered: 09/21/2012)
03/11/2016        28 NOTICE OF ATTORNEY APPEARANCE: Thomas Edward Moseley
                     appearing for Salvatore Lauria (Moseley, Thomas) (Entered: 03/11/2016)
03/11/2016             Emergency MOTION to Unseal Document information, transcripts 5K
             29        letter by Salvatore Lauria. (Moseley, Thomas) (Entered: 03/11/2016)
03/14/2016        30
                       SCHEDULING ORDER as to Salvatore Lauria re 29              Emergency
                       MOTION to Unseal Documents. A motion has been made to unseal the
                       record in this case as described in DE 29. The government may submit its
                       response in writing, failing which, the motion will be heard at 11:30 a.m. on
                       March 21, 2016. Ordered by Judge I. Leo Glasser on 3/14/2016. (Kessler,
                       Stanley) (Entered: 03/14/2016)
03/17/2016        31 Letter requesting an adjournment of the deadline to respond to the
                     defendant's motion dated March 11, 2016 as to Salvatore Lauria (Cooley,
                     Alicyn) (Entered: 03/17/2016)
03/18/2016        32 ORDER endorsed on letter 31 dtd 3/17/2016 from Alicyn Cooley, AUSA,
                     to the Court, granting the application, on consent, to extend the
                     government's time to respond to the unsealing motion, and any oral
                     argument, until 4/4/2016. Ordered by Judge I. Leo Glasser on 3/18/2016.
                     (Kessler, Stanley) (Entered: 03/18/2016)
04/04/2016        33
                       RESPONSE to Motion re 29         Emergency MOTION to Unseal
                       Document information, transcripts 5K letter (Attachments: # 1 Exhibit A)
                       (Cooley, Alicyn) (Entered: 04/04/2016)
04/05/2016        34 ORDER unsealing certain documents for limited purposes. Ordered by
                     Judge I. Leo Glasser on 4/5/2016. (Kessler, Stanley) (Entered: 04/05/2016)
04/07/2016        35
                       Letter in further response to the defendant's March 11, 2016 motion 29
                       as to Salvatore Lauria (Cooley, Alicyn) (Entered: 04/07/2016)
04/11/2016
                       ORDER, granting 29        Motion to Unseal Document as to Salvatore
                       Lauria (1). See 34 . Ordered by Judge I. Leo Glasser on 4/5/2016. (Layne,
                       Monique) (Entered: 04/11/2016)
04/11/2016        36 ENDORSED ORDER, as to Salvatore Lauria on govt's 35 letter in further

                       response to deft's 29  motion to unseal document information. So
                       Ordered. Ordered by Judge I. Leo Glasser on 4/8/2016. (Layne, Monique).
                       (Entered: 04/11/2016)
06/04/2017        37 NOTICE OF ATTORNEY APPEARANCE Girish Karthik Srinivasan
                     appearing for USA. (Srinivasan, Girish) (Entered: 06/04/2017)
06/04/2017
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                       MOTION to Unseal Document No. 12 by USA as to Salvatore Lauria.
             38        (Srinivasan, Girish) (Entered: 06/04/2017)
06/05/2017
             39        ORDER Granting 38         Motion to Unseal Document 12       as to
                       Salvatore Lauria (1). SO Ordered by Judge I. Leo Glasser on 6/5/2017.
                       (Manson, Eddie) (Entered: 06/05/2017)



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                                        Transaction Receipt
                                          05/28/2018 23:58:06
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                                  richardlerner:3994622:0 Client Code:
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                                                         Search          1:98-cr-01102-
                  Description:    Docket Report
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                  Billable
                                  3                      Cost:           0.30
                  Pages:
